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 1   Richard J. Mooney (pro hac vice)
 2   richard.mooney@rimonlaw.com
     RIMON P.C.
 3   One Embarcadero Center #400
     San Francisco, CA 94111
 4   Telephone: (415) 539-0443
 5   Attorneys for Plaintiff Triumphant Gold Limited
 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                              FOR THE SOUTHERN DISTRICT OF TEXAS
 9
                                          HOUSTON DVISION
10
11
12    Triumphant Gold Limited,                         CASE NO.: 4:18-cv-4770

13                          Plaintiff,
                                                       CERTIFICATE OF SERVICE
14            v.

15    Darren Matloff,
16                          Defendant.

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1
                                          PROOF OF SERVICE
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3            I, RICHARD J. MOONEY, am over the age of 18 and not a party to this action. My
      place of business is One Embarcadero Center, Suite 400, San Francisco, CA 94111. On
4     March 7, 2019, I served the following documents:

5            1. MOTION FOR DEFAULT;

6            2. DECLARATION OF RICHARD MOONEY IN SUPPORT OF MOTION FOR
                DEFAULT;
7
             3. [PROPOSED] ORDER GRANTING MOTION FOR DEFAULT JUDGMENT;
8
             4. [PROPOSED JUDGMENT.
9

10    on the person(s) listed below in the following manner/s:

11
                 BY UNITED STATES CERTIFIED MAIL-RETURN RECEIPT
12               REQUESTED. I enclosed the documents in a sealed envelope or package
                 addressed to the person at the address below and placed the envelope for
13               collection and mailing following our ordinary business practices. I am
14             X readily  familiar with this business' practice for collecting and processing
                 documents for mailing. On the same day that correspondence is placed for
                 collection and mailing, it is deposited in the ordinary course of business
15               with the United States Postal Service in a sealed envelope with postage fully
                 prepaid, Certified and Return Receipt Requested.
16
                   BY PERSONAL SERVICE. I caused the documents to be personally
17             delivered to the person(s) at the address(es) listed below.
18
                ELECTRONICALLY: I caused a true and correct copy thereof to be
19              electronically filed using the Court’s Electronic Court Filing (“ECF”) System
               and service was completed by electronic means by transmittal of a Notice of
20              Electronic Filing on the registered participants of the ECF System.

21              BY UNITED STATES MAIL. I enclosed the documents in a sealed envelope
                or package addressed to the persons at the addresses below and placed the
22              envelope for collection and mailing following our ordinary business practices. I
               am readily familiar with this business' practice for collecting and processing
23              documents for mailing. On the same day that correspondence is placed for
                collection and mailing, it is deposited in the ordinary course of business with
24              the United States Postal Service in a sealed envelope with postage fully prepaid.

25

26    The following party was served the above-referenced documents:

27    Darren Matloff, Defendant
      75 Vine Street, Unit 805
28
      Seattle, WA 98121


      #1772950v1<4501-20199>
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             I declare under penalty of perjury under the laws of the United States and the State of
2
      California that the foregoing is true and correct.
3
      DATED: March 7, 2019
4

5                                                          __/s/ Richard J. Mooney________________
6                                                          RICHARD J. MOONEY

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